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          17
                                 UNITED STATES DISTRICT COURT
          18
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
          19
                   MASIMO CORPORATION,                      CASE NO. 8:20-cv-00048-JVS (JDEx)
          20       a Delaware corporation; and
                   CERCACOR LABORATORIES, INC.,
                   a Delaware corporation,                  MEMORANDUM OF POINTS AND
          21                                                AUTHORITIES IN SUPPORT OF
                                      Plaintiffs,           DEFENDANT APPLE INC.’S
          22                                                MOTION FOR PARTIAL
                         v.                                 RECONSIDERATION OF
          23                                                PROTECTIVE ORDER (DKT. NO. 67)
          24       APPLE INC.,
                   a California corporation,
                                                            Hearing
          25
                                      Defendant.
                                                            Date:            August 6, 2020
          26                                                Time:            10:00 a.m.
                                                            Courtroom:       6A
          27                                                Judge:           Hon. John D. Early
          28

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            1                                            INTRODUCTION
            2            Apple requests that the Court reconsider and amend two provisions of the
            3      Protective Order:    (1) Section 9.3, to permit the disclosure of Plaintiffs’ Section
            4      2019.210 statement to a limited number of Apple’s in-house counsel; and (2) Section
            5      10, to include an acquisition bar.
            6            Apple proposed both of these provisions in its draft protective order submitted on
            7      June 26, 2020 (Dkt. No. 61-5, Ex. A), and explained its reasoning in the parties’ Joint
            8      Stipulation filed the same day (Dkt. No. 61-1, at 47-49, 59-62). The Court entered a
            9      Protective Order without either provision on June 30, 2020 (Dkt. No. 67). But the Court
          10       did not explain its reasons for denying Apple’s request to include these provisions.1
          11       Apple submits that in the absence of any order or explanation suggesting otherwise, it
          12       appears that the Court manifestly failed to consider material facts presented by Apple
          13       before entering the Protective Order. See Local Rule 7-18(c). The Court should
          14       reconsider its Order on both issues accordingly.
          15             With respect to Section 9.3, Apple sought access for three of its in-house counsel
          16       to the Section 2019.210 statement that Plaintiffs promised to produce in the case. 2
          17       Protective order provisions that permit a limited number of in-house counsel access to
          18       highly confidential information, including Section 2019.210 disclosures, are common in
          19       trade secret actions throughout this Circuit because, without them, it is next to
          20       impossible for a corporate trade secret defendant to mount a defense. See Dkt. No. 61-
          21       1, at 48-49 (citing numerous exemplar cases). Such a provision is particularly warranted
          22       here, because Apple’s in-house counsel plays a key role in the collection and production
          23
          24         1
                         The Court entered the Protective Order without a corresponding decision—and
                   therefore denied, without explanation, additional protective order provisions requested
          25       by the parties. This Motion is limited to Apple’s Sections 9.3 and 10 proposals.
          26         2
                          Plaintiffs’ first amended trade secret misappropriation claim was dismissed with
                   leave to replead on June 25, 2020 (Dkt. No. 60), but Plaintiffs have confirmed that they
          27       intend to replead the claim. See Dkt. No. 68 (Plaintiffs agreeing to schedule for motion
                   to dismiss its soon-to-be repleaded trade secret misappropriation claim). Thus, Plaintiffs
          28       will be required to serve the subject Section 2019.210 disclosure. See Dkt. No. 37
                   (staying trade secret discovery pending compliance with 2019.210).
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            1      of documents responsive to Plaintiffs’ requests, and because if there is a legitimate trade
            2      secret claim (which there does not appear to be), Apple’s in-house counsel needs to
            3      know the identity of the trade secrets to aid in the defense of the claim and to excise the
            4      trade secrets. Apple’s in-house counsel cannot form their own conclusions, or make
            5      independent decisions, as to Plaintiffs’ trade secret claim without access to a
            6      particularized description of the alleged trade secrets at issue in this case. Apple
            7      therefore submits that in issuing a Protective Order without Apple’s proposed Section
            8      2019.210 provision, the Court failed to consider material facts that will hinder Apple’s
            9      ability to defend—and potentially resolve—the trade secret misappropriation claim in
          10       this case.
          11             With respect to Section 10, Apple requested a patent acquisition bar for the same
          12       reasons that the parties agreed warrant a patent prosecution bar. The Court denied
          13       Apple’s request without explanation and, in doing so, appears to have failed to consider
          14       the risks of inadvertent disclosure and competitive misuse previously articulated by
          15       Apple throughout its portion of the Joint Stipulation (Dkt. No. 61-1, at 47-49)—
          16       particularly by these Plaintiffs who are highly litigious and have shown time and again
          17       that they are willing to sue companies they view as a threat to their business. Apple
          18       respectfully submits that in a case like this one—where the parties and the Court agree
          19       that a patent prosecution bar is necessary—it makes perfect sense to likewise put in place
          20       a patent acquisition bar that prohibits Plaintiffs’ counsel who actually review Apple’s
          21       sensitive technical material from participating in patent acquisitions relating to that
          22       material’s subject matter until two years after the case ends. Indeed, Plaintiffs failed to
          23       present any facts that weigh in favor of the alternative result adopted by this Court.
          24             Apple respectfully submits that without these proposed Sections 9.3 and 10
          25       provisions, Apple’s ability to defend itself in this litigation will be significantly
          26       impaired, and its sensitive, technical information will be at an unacceptably high risk of
          27       inadvertent disclosure and competitive misuse. The Court should reconsider Sections
          28       9.3 and 10, and enter an amended Protective Order containing Apple’s proposals on

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            1      these two issues.
            2                                             BACKGROUND
            3            Recognizing that this litigation will involve some of Apple’s most valuable and
            4      highly confidential information, for over three months Apple diligently negotiated the
            5      terms of a protective order with Plaintiffs.       Apple sought the protections that it
            6      reasonably believes it needs to defend itself against Plaintiffs’ asserted patent and trade
            7      secret claims, and to protect its sensitive and confidential information and trade secrets
            8      in the process. Despite Apple’s best efforts, the parties arrived at an impasse on several
            9      issues. The parties briefed those issues to the Court in a Joint Stipulation filed on June
          10       26, 2020. Apple appended to that Joint Stipulation its proposed protective order;
          11       Plaintiffs did the same with their proposed protective order.
          12             On June 30, 2020, the Court entered the Protective Order. Dkt. No. 67. The
          13       Protective Order adopts certain of Apple’s proposed provisions, while rejecting others
          14       in favor of Plaintiffs’ proffered provisions. The Protective Order was not accompanied
          15       by a written memorandum or decision. Apple therefore has no insight into the Court’s
          16       reasons for rejecting certain of Apple’s proposed protective order provisions—
          17       including, of relevance to this Motion, the Section 2019.210 language Apple proposed
          18       for Section 9.3 and the acquisition bar Apple proposed for Section 10.
          19                                         STANDARD OF REVIEW
          20             “A district court has the inherent power to reconsider and modify its interlocutory
          21       orders prior to the entry of judgment.” Smith v. Massachusetts, 543 U.S. 462, 475
          22       (2005); Fed. R. Civ. P. 54(b) (“[A]ny order or other decision . . . that adjudicates fewer
          23       than all the claims or the rights and liabilities of fewer than all the parties . . . may be
          24       revised at any time before the entry of a [final] judgment.”). Local Rule 7-18 provides
          25       that a motion for reconsideration may be filed on the following grounds: “(a) a material
          26       difference in fact or law from that presented to the Court before such decision that in the
          27       exercise of reasonable diligence could not have been known to the party moving for
          28       reconsideration at the time of such decision, or (b) the emergence of new material facts

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            1      or a change of law occurring after the time of such decision, or (c) a manifest showing
            2      of a failure to consider material facts presented to the Court before such decision.” Local
            3      R. 7-18. This Motion is brought under subsection (c) of Local Rule 7-18.
            4                                                ARGUMENT
            5      A.     Disclosure of Plaintiffs’ Section 2019.210 Statement to a Limited Number of
                          Apple’s In-House Counsel (Section 9.3)
            6
                          Apple sought access for three of its in-house counsel to Plaintiffs’ Section
            7
                   2019.210 disclosure given the integral role Apple’s in-house counsel plays in defending
            8
                   cases like this one. Far from identifying their trade secrets with reasonable particularity
            9
                   more than six months into this case, Plaintiffs have yet to even adequately plead those
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                   purported trade secrets under Federal Rule of Civil Procedure 8. See Dkt. No. 60, at 6-
          11
                   8. As a result, Apple does not know what trade secrets Plaintiffs believe Apple
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                   misappropriated or where the alleged trade secrets could be found. Apple therefore
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                   cannot identify or return any alleged trade secret information. This situation is untenable
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                   and unfair now, but it will be even worse if Apple’s in-house counsel cannot access the
          15
                   Section 2019.210 disclosure when Plaintiffs finally produce one. At that point, Plaintiffs
          16
                   will be able to demand trade secret-related discovery, but Apple’s in-house counsel will
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                   have no ability to provide direction or input on discovery responses or documents. Nor
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                   will Apple’s in-house counsel be able to form any independent conclusions as to the
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                   merits of the trade secret claim—certainly not as to any possibility of its resolution.
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                   Apple therefore respectfully submits that the Court failed to consider the negative impact
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                   that will result on this litigation—including its potential resolution—if only the Court
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                   and Apple’s outside counsel have access to a particularized description of the alleged
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                   trade secrets at issue.
          24
                         In determining whether in-house counsel should be permitted to view the
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                   opposing party’s trade secrets, the Ninth Circuit has advised courts to balance the risk
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                   to the producing party of inadvertent disclosure of its trade secrets to competitors against
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                   the risk to the receiving party that protection of the trade secrets will impair the receiving
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            1      party’s defense. See Brown Bag Software v. Symantec Corp., 960 F.2d 1465, 1470 (9th
            2      Cir. 1992). A crucial inquiry is whether in-house counsel was involved in “competitive
            3      decisionmaking”—i.e., giving advice or participating in decisions about product design,
            4      pricing, and the like in light of similar or corresponding information about a competitor.
            5      Id. (citing U.S. Steel Corp. v. United States, 730 F.2d 1465 (Fed. Cir. 1984)).
            6            Against this backdrop, courts throughout this Circuit routinely permit a limited
            7      number of in-house counsel to access attorneys’ eyes only information—including
            8      Section 2019.210 disclosures—in trade secret cases. See, e.g., Mastronardi Int’l Ltd. v.
            9      SunSelect, 2019 WL 3996608, at *9 (E.D. Cal. Aug. 23, 2019) (permitting disclosure of
          10       attorneys’ eyes only material to any number of designated in-house counsel who are not
          11       involved in competitive decision-making, to whom disclosure is reasonably necessary
          12       for the litigation, and who have agreed to be bound by the protective order); Transcript
          13       of Case Management Proceedings, Waymo LLC v. Uber Techs., Inc., No. C 17-00939
          14       WHA (N.D. Cal. March 16, 2017), ECF No. 63 (permitting disclosure of highly
          15       confidential materials to one in-house counsel upon his or her agreement to be bound by
          16       the protective order); Order at 10, Bladeroom Grp. Ltd., v. Facebook, Inc., No. CV-15-
          17       01370-EJD (N.D. Cal. Aug. 3, 2015) ECF No. 54 (permitting disclosure of attorneys’
          18       eyes only material to two designated in-house counsel who have no involvement in
          19       competitive decision-making, to whom disclosure is reasonably necessary for the
          20       litigation, and who have agreed to be bound by the protective order); MMCA Grp., Ltd.
          21       v. Hewlett-Packard Co., 2009 WL 595537, at *1 (N.D. Cal. Mar. 5, 2009) (granting two
          22       of defendants’ in-house attorneys access to attorneys’ eyes only material given small
          23       risk of disclosure where the “attorneys who would be given access to AEO materials
          24       would be litigation attorneys with no involvement” in defendants’ business affairs).
          25       Apple is ready and willing to designate attorneys from its litigation group who are not
          26       competitive decision makers and who are willing to be bound by the Protective Order.
          27             As Apple previously explained, disclosure to in-house counsel is essential in this
          28       case for the same reasons it was essential in the other cases in this Circuit where in-

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            1       house counsel have been permitted access to highly confidential information, including
            2       Section 2019.210 disclosures. See Dkt. No. 61-1, at 47-49. In particular, Apple’s in-
            3       house counsel plays a key role in organizing document discovery in this case, and
            4       therefore needs to know the identity of the purported trade secrets so that it can manage
            5       the search for documents responsive to Plaintiffs’ discovery requests and also prevent
            6       disclosure of Apple’s trade secrets in the process. Id. at 48. This is not a case where
            7       outside counsel is—or could be—solely responsible for the collection and review of
            8       documents responsive to the opposing party’s requests. Apple’s in-house counsel is
            9       essential to the process, and will be unable to do their job with respect to the trade secret
          10        side of the case if they cannot learn what the alleged trade secrets are.
          11              Moreover, Apple genuinely does not believe that it possesses any of Plaintiffs’
          12        trade secrets—nor does it want access to any of that information. Apple’s in-house
          13        counsel needs to know what information Plaintiffs claim Apple misappropriated so that
          14        it can excise the information from Apple’s products as soon as possible (to the extent
          15        the claim has merit) and mitigate damages consistent with its duty under the law. Id.
          16        Indeed, while Apple’s outside counsel is capable of defending Apple against Plaintiffs’
          17        claim of trade secret misappropriation in the courtroom, Apple’s outside counsel will be
          18        powerless when it comes to altering Plaintiffs’ products and/or mitigating damages if
          19        they learn that Plaintiffs’ alleged trade secrets are incorporated into Apple’s products
          20        and cannot advise Apple of that fact. For these reasons, Apple submits that it is highly
          21        appropriate—and, indeed, necessary—for a limited number of its in-house counsel to be
          22        permitted access to the Section 2019.210 disclosure served in this action. It appears that
          23        in denying Apple’s request for Section 2019.210 disclosure access, the Court failed to
          24        consider these material facts.
          25              Importantly, granting Apple’s in-house counsel the access it seeks would not
          26        impose any significant harm on Plaintiffs—and certainly not any harm that outweighs
          27        that which will result to Apple if its in-house counsel cannot even discern the purported
          28        trade secrets the company is alleged to have misappropriated. The risk of disclosure is

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            1       particularly minimal here where, by nature of their trade secret misappropriation claim,
            2       Plaintiffs have alleged that Apple already has possession of their trade secrets. If
            3       Plaintiffs’ trade secret information is already in Apple’s possession as Plaintiffs contend,
            4       Plaintiffs should have no qualms about sharing that information with the limited number
            5       of persons at Apple directly involved in the defense of this lawsuit. Moreover, the in-
            6       house counsel for whom Apple will seek access are not involved in competitive
            7       decision-making. Therefore, this case is akin to the many other cases throughout this
            8       Circuit where courts have found the risk of inadvertent disclosure outweighed by the
            9       need for effective legal decision making.
          10                 The balance of hardships favors Apple’s position on this issue. The potential
          11        harm to Plaintiffs in disclosing their confidential information to an extremely limited
          12        number of Apple’s in-house counsel is far outweighed by the impact the preclusion of
          13        such information will have on Apple’s ability to defend this case. Apple’s request for
          14        access for the three in-house counsel integrally involved in the defense of this action,
          15        who are not involved in competitive decision-making for the company, is reasonable
          16        under the standard set out in similar cases in this Circuit. 3 This Court should grant
          17        Apple’s Motion for Reconsideration with respect to this issue, and modify Section 9.3
          18        of the Protective Order accordingly.
          19        B.       Inclusion of an Acquisition Bar (Section 10)
          20                 In addition to the patent prosecution bar that both parties agree is necessary in this
          21        case involving sensitive, technical information, Apple also sought an acquisition bar—
          22        to prohibit any of Plaintiffs’ counsel who actually review Apple’s sensitive, technical
          23        material from participating in patent acquisitions relating to that material’s subject
          24        matter until two years after the case ends. See Dkt. No. 61-1, at 59-62. The current
          25        Protective Order gives opposing counsel who review Apple’s sensitive, technical
          26
          27             3
                          While Apple would prefer that access be granted to more than three of its in-house
                    counsel, given the number of in-house counsel involved in this case, Apple narrowed its
          28        request to three in-house counsel in response to Plaintiffs’ confidentiality concerns. At
                    a minimum, Apple respectfully requests access for two of these in-house counsel.
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            1       material carte blanche to participate in patent acquisitions relating to that material’s
            2       subject matter—even though this case necessarily will involve the production of some
            3       of Apple’s most confidential and sensitive technical information that could be misused
            4       during the process of advising on an acquisition just as readily as it can be misused
            5       during patent prosecution. Apple submits that the Court failed to consider material facts
            6       demonstrating the high risks of inadvertent disclosure and competitive misuse in this
            7       case created by a Protective Order without an acquisition bar.
            8             Plaintiffs seek access to Apple’s highly confidential, sensitive, and valuable,
            9       source code. The disclosure of source code carries significant risks of inadvertent
          10        disclosure and competitive misuse. See, e.g., Telebuyer, LLC v. Amazon.com, Inc., 2014
          11        WL 5804334, at *2 (W.D. Wash. July 7, 2014) (describing source code as “highly
          12        confidential, technical information” that poses a “heightened risk of inadvertent
          13        disclosure”) (citation omitted); Applied Signal Tech., Inc. v. Emerging Markets
          14        Commc’ns, Inc., 2011 WL 197811, at *2 (N.D. Cal. Jan. 20, 2011) (“confidential
          15        technical documents, including source code . . . may pose a heightened risk of
          16        inadvertent disclosure”). The concerns about the detrimental impact any inadvertent
          17        public disclosure of Apple’s source code and technical documentation would have on
          18        Apple’s business is particularly heightened here—where Plaintiffs are highly litigious
          19        companies that that have shown time and again that they are willing to sue companies
          20        they view as a threat to their business and who have been involved in numerous corporate
          21        acquisitions, including two announced just this year.
          22              Given these facts, it is necessary to restrict Plaintiffs’ counsel who review Apple’s
          23        sensitive, technical information from later assisting Plaintiffs in the acquisition of
          24        patents covering the disclosed technology. The rationale for an acquisition bar of the
          25        type Apple seeks is well-established: “It is very difficult for the human mind to
          26        compartmentalize and selectively suppress information once learned, no matter how
          27        well-intentioned the effort may be to do so.” In re Deutsche Bank Tr. Co. Ams., 605
          28        F.3d 1373, 1378 (Fed. Cir. 2010) (alteration omitted) (quoting FTC v. Exxon Corp., 636

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            1       F.2d 1336, 1350 (D.C. Cir. 1980)). Notwithstanding general provisions “specifying that
            2       designated confidential information may be used only for purposes of the current
            3       litigation,” and notwithstanding the good faith of all individuals involved, courts
            4       recognize that “there may be circumstances in which even the most rigorous efforts . . .
            5       to preserve confidentiality . . . may not prevent inadvertent compromise.” Id.; see also
            6       Catch A Wave Techs., Inc. v. Sirius XM Radio, Inc., 2013 WL 9868422, at *1 (N.D. Cal.
            7       Aug. 6, 2013) (“The patent acquisition bar . . . adds an additional layer of protection by
            8       prohibiting not just disclosure and use, but also advising.”).
            9             Plaintiffs themselves recognized and endorsed these settled principles when they
          10        agreed to a prosecution bar nearly identical in scope to Apple’s proposed acquisition
          11        bar. The justification underlying both provisions is identical: it will be difficult, if not
          12        impossible, for an individual who has seen Apple’s highly confidential information
          13        (such as its source code and technical design documents) to segregate that information
          14        mentally when later advising on patent prosecution or acquisition related to that
          15        information. The risks of inadvertent disclosure and competitive misuse are the same
          16        with respect to both prosecution and acquisition:
          17                     Counsel for Plaintiff has acquiesced to the imposition of a
          18                     patent prosecution bar, and, therefore, apparently agrees that
                                 there could possibly be a risk of inadvertent disclosure of
          19                     Defendants’ confidential information in the course of
          20                     representing their client before the PTO. Therefore, it is hard
                                 to conceive that there would be little or no risk of inadvertent
          21                     disclosure when these same attorneys advise their client in
          22                     matters regarding acquisitions of patents.
          23
                    E-Contact Techs., LLC v. Apple, Inc., 2012 WL 11924448, at *2 (E.D. Tex. June 19,
          24
                    2012); see also EPL Holdings, LLC v. Apple Inc., 2013 WL 2181584, at *4 (N.D. Cal.
          25
                    May 20, 2013) (explaining that patent acquisition and prosecution create the same risk
          26
                    of inadvertent use because “litigation counsel may consciously or subconsciously use
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                    their knowledge . . . to advise a client on which patents to acquire”). Far from novel, the
          28

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            1       acquisition bar Apple requested—and that this Court denied without explanation—has
            2       been routinely granted by courts throughout the country in situations like this one. See,
            3       e.g., Order at 5, Realtime Adaptive Streaming LLC v. Google LLC, No. 18-CV-03629
            4       (C.D. Cal. July 18, 2019), ECF No. 80; Intellectual Ventures I, LLC v. Lenovo Group
            5       Ltd., 2019 WL 343242, at *4 (D. Mass. Jan. 25, 2019); Order at 3, Uniloc USA, Inc. v.
            6       Apple Inc., No. 18-CV-00572 (N.D. Cal. July 2, 2018), ECF No. 107; Order at 10, Univ.
            7       of Va. Patent Found. v. Gen. Elec. Co., No. 14-CV-00051 (W.D. Va. June 11, 2015),
            8       ECF No. 61; Telebuyer, 2014 WL 5804334, at *7; Inventor Holdings, LLC v. Google,
            9       Inc., 2014 WL 4369504, at *2 (D. Del. Aug. 27, 2014); Catch A Wave Techs., Inc., 2013
          10        WL 9868422, at *1; EPL Holdings, LLC, 2013 WL 2181584, at *5; Unwired Planet
          11        LLC v. Apple Inc., 2013 WL 1501489, at *7 (D. Nev. Apr. 11, 2013); Transcript at 29:20-
          12        30:4, Intellectual Ventures I LLC v. Altera Corp., No. 10-CV-00065 (D. Del. Aug. 1,
          13        2012), ECF No. 145; E-Contact Techs., LLC, 2012 WL 11924448, at *2; cf. Blackbird
          14        Tech LCC v. Serv. Lighting & Elec. Supplies, Inc., 2016 WL 2904592, at *6 (D. Del.
          15        May 18, 2016) (requiring covenant not to sue on patents acquired during duration of
          16        protective order).
          17              It is undisputed that there is a significant risk of inadvertent disclosure by
          18        attorneys that review Apple’s confidential, highly confidential and source code
          19        information in patent prosecution. That same risk equally applies when the attorneys
          20        are involved in patent acquisitions. The material fact that the risk is the same for patent
          21        prosecution and patent acquisition appears to have been overlooked by the Court because
          22        the acquisition bar was not included in the Protective Order. Therefore, Apple requests
          23        reconsideration to include the patent acquisition bar to address this material fact.
          24                                                CONCLUSION
          25              For the foregoing reasons, Apple respectfully requests that the Court amend the
          26        Protective Order to (1) permit disclosure of Plaintiffs’ Section 2019.210 disclosure to at
          27        least two of Apple’s in-house counsel; and (2) include an acquisition bar preventing any
          28        of Plaintiffs’ counsel who actually review Apple’s sensitive technical material from

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            1       participating in patent acquisitions relating to that material’s subject matter until two
            2       year after the case ends.
            3
            4       Dated: July 8, 2020                    Respectfully submitted,
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          10
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          11                                                   Joshua H. Lerner
          12
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